Case: 2:97-cr-00099-JLG-NMK Doc #: 993 Filed: 06/05/13 Page: 1 of 3 PAGEID #: 1328




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION




   STEPHEN C. WASHINGTON
                                                                  2:05-cv-160
                                                                  2:97-cr-0099(4)
                     v.                                           JUDGE GRAHAM


   UNITED STATES OF AMERICA


                                        OPINION AND ORDER

           On    March       28,   2013,    the   United      States     Magistrate   Judge

   recommended that petitioner’s Motion to Recall Judgment Pursuant

   to   Fed.         R.    Civ.    P.   60(B)(6),      Doc.     No.   989   [“Petitioner’s

   Motion”], be transferred to the United States Court of Appeals

   for the Sixth Circuit as a successive petition.                              Report and

   Recommendation, Doc. No. 990.                      This matter is now before the

   Court        on        petitioner’s     objection       to     that      recommendation.

   Objection, Doc. No. 992.                The Court will consider the matter de

   novo.    See 28 U.S.C. § 636(b)(1);                 Fed. R. Civ. P. 72(b)(3).

           On February 26, 2005, petitioner filed a Motion to Vacate

   under 28 U.S.C. § 2255, Doc. No. 725, which was dismissed by this

   Court on May 16, 2006.                  Opinion and Order, Doc. No. 761. That

   judgment is now final. See Doc. No. 812, Washington v. United

   States of America, Case No. 07-3027 (6th Cir. October 1, 2007).

   Ordinarily, a successive motion to vacate under 28 U.S.C. § 2255

   cannot proceed in this Court unless the United States Court of

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Case: 2:97-cr-00099-JLG-NMK Doc #: 993 Filed: 06/05/13 Page: 2 of 3 PAGEID #: 1329



   Appeals       for   the    Sixth    Circuit      grants       leave.         28   U.S.C.   §

   2244(b)(3)(A); see In re Sims, 111 F.3d 45, 47 (6th Cir. 1997).

           Petitioner denominates his filing as – not a successive

   motion to vacate under 28 U.S.C. § 2255 – but as a motion under

   Fed. R. Civ. P. 60(b).              Where a Rule 60(b) motion “attempts ‘to

   add a new ground for relief’ [it] is effectively a motion to

   vacate, set aside, or correct the sentence, and thus should be

   considered a § 2255 motion.” In re Nailor, 487 F.3d 1018, 1022

   (6th Cir. 2007) (citing Gonzales v. Crosby, 545 U.S. 524, 532

   (2005)).       Moreover,      a     Rule    60(b)      motion        that    attacks    the

   resolution of an earlier motion to vacate will also be considered

   a successive § 2255 petition, “since alleging that the court

   erred    in    denying     habeas    relief      on    the    merits    is    effectively

   indistinguishable from alleging that the movant is . . . entitled

   to habeas relief.”          Id. at 1022 (citing Gonzalez, at 532).                     Such

   a motion must therefore be transferred to the Court of Appeals.

           As    noted   supra,       the     Magistrate        Judge    recommended      that

   Petitioner’s Motion be transferred to the Court of Appeals as a

   successive petition.

           Petitioner        objects    to     that      recommendation,         taking   the

   position that the issue presented in Petitioner’s Motion points,

   not to a new claim for relief, but to a defect in the integrity

   of the previous proceedings.                Such a motion, petitioner argues,

   is   therefore      properly       presented     in    a     motion    for    relief   from

   judgment under Rule 60(b) and need not be transferred to the

   Sixth Circuit. This Court disagrees.


                                                2
Case: 2:97-cr-00099-JLG-NMK Doc #: 993 Filed: 06/05/13 Page: 3 of 3 PAGEID #: 1330



         In Petitioner’s Motion, petitioner argues that this Court

   misconstrued Ground One of the original Motion to Vacate. Because

   the Court failed to consider the claim as it should have been

   construed,    petitioner      contends,    the   earlier   proceedings    were

   defective and Rule 60(b) permits petitioner to now litigate the

   claim as properly construed.        Petitioner’s Motion, p. 5.

         This    Court    agrees     with     the      Magistrate   Judge    that

   Petitioner’s Motion seeks to attack the previous resolution of

   Ground One of the original Motion to Vacate. Petitioner’s Motion

   is therefore a successive petition under § 2255 regardless of the

   label given the motion by petitioner.            See In Re Nailor, 487 F.3d

   at   1022.    This    Court    therefore    lacks    authority   to   consider

   petitioner’s motion absent authorization by the United States

   Court of Appeals for the Sixth Circuit.

         The Report and Recommendation, Doc. No. 990, is ADOPTED AND

   AFFIRMED.    Petitioner’s Motion, Doc. No. 989, is TRANSFERRED to

   the United States Court of Appeals for the Sixth Circuit as a

   successive motion to vacate under 28 U.S.C. § 2255.



   Date: June 5, 2013

                                            _______s/James L. Graham_______
                                            James L. Graham
                                            United States District Judge




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